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                             United States District Court
                              Western District of Texas
                                   Del Rio Division
   State of Texas
        Plaintiff,

   v.

   Alejandro Mayorkas, in his official
   capacity as Secretary of Department of
   Homeland Security; United States                           No. 2:23-cv-00024
   Department of Homeland
   Security; MERRICK GARLAND, in his
   official capacity as Attorney General of the
   United States, United States
   Department of Justice,
          Defendants.


          Order Granting Plaintiff’s Motion to Withdraw Attorney



        On this date, the Court considered Plaintiff’s Unopposed Motion to Withdraw Leif A.

Olson as Counsel. After considering the Motion, the Court is of the opinion that the Motion should

be GRANTED.

        Accordingly, it is ORDERED, ADJUDGED and DECREED that Leif A. Olson is hereby

withdrawn as counsel of record.

        SO ORDERED and SIGNED this day of __________________, 2023.




                                              United States District Judge
